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Local AO 2458 (Rev. 11/16) Judgment in a Crlinirial Case

 

 

Sheet l
UNITED STATES DISTRICT COURT
District ofNoi‘th Dakota
UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
v. )
CALVIN CRoW EAGLE § case Number; i=ie-cr.isg-oz

) USM Number; 16224-059

§ Ryan Costello

) Defendant’s Attomey

THE DEFENDANT:

M pleaded guilty to count(s) Onc (1), Two (2) and Five (5) of the Indictment.

 

I:l pleaded nolo contendere to count(s)

 

Which Was accepted by the court.

l:| Was found guilty on count(s)

 

alter a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC §§ 2 and 1153 Child Neglect in Indian Country July 17, 2016 1

and NDCC §§ 14-09-22.1
and 12.1-32-01

The defendant is sentenced as provided in pages 2 through 8 of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

|:| The defendant has been found not guilty on count(s)

 

|:l Count(s) I:I is I:l are dismissed on the motion of the United States.

 

_ _ It is ordered t_hat the defendant_must notify the Un_ited States attorney for this district within 30 dalys of_any change of name, residence,
or mailing address until_ all fines, restitution,_costs, and special assessments imposed by this Judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes.in economic circumstances

Junc 19, 2017

 

Date of lmpositic of Judgment

M%//,,.p

/ .
_,»'/}
Si@aWJudge

 
 

Daniel L. Hovland U.S. Chief Disti'ict Judge

 

Name and Title ofJudge

l/1))1¢ ivy »7¢§’?

Date

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Local AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet lA

Judgment_Page 2 of
DEFENDANTZ CALVIN CROW EAGLE

CASE NUMBER: l:l6-cr-189-02

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended

M
18 USC §§ 2 and 1153 Child Neglect in Indian Country July 17, 2016 2
and NDCC §§ 14~09-22.1
and 12.1-32-01
18 USC §§ 2 and 1153 Child Neglect in Indian Country July 11, 2016 5

and NDCC §§ 14-09-22.1
and 12.1-32-01

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Local AO 2455 (Rev. 11/16) Judgment in Criminal Case
Sheet 2 _ lrnprisonment

DEFENDANTZ CALVIN CROW EAGLE
CASE NUMBER: 1:16-cr-189-02

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Judgment _ Page 3 of 8

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total

term of:

36 MONTHS, with credit for time served, on each of Counts 1, 2 and 5, sentences to run concurrent with one another.

M The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the Defendant be placed at a correctional facility located as close as possible to North Dakota, to remain
close to family. The Court also recommends the Bureau of Prisons take whatever measures deemed necessary to protect
Defendant from assaults by other inmates, and to take note of Exhibits B and C in Defendant's Sentencing Memorandum,

Document #85 in the docket.

lzl The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marslial for this district:

|:| at l:l a.m.
l:l as notified by the United States Marshal.

[l p.m. on

 

l:| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

l:| as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment
UNITED sTATES MARSHAL
By

 

DEPUTY UNlTED STATES MARSHAL

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Local AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 3 _ Supervised Release

Judgment_Page ; of
DEFENDANTZ CALVIN CROW EAGLE
CASE NUMBERI 1:16-cr-189-02

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
3 YEARS on each of Counts 1, 2 and 5, terms to run concurrent with one another.

 

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance

L».)|\)»-\

imprisonment and at least two periodic drug tests thereafter, as determined by the court.
|:l The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of filture substance abuse. (check ifapplicable)
121 You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)

$"':'>~

You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from

l:l You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you

reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6. l:| You must participate in an approved program for domestic violence. (check ifappliaable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached

page.

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Local AO 245B (Rcv. 11/|6) Judgment in a Criminal Case
Sheet 3A _ Supervised Release

Judgment-~Page 5 of §
DEFENDANTZ CALVIN CROW EAGLE
CASE NUMBERZ 1:16~cr-189-02

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or yourjob
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

ll. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

5":**‘

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overview of Probation and Supervised
Release Cona’i'tz'ons, available at: w\v\\-'.uscourts.aov.

 

Defendant's Signature Date

 

 

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Local AO 245B(Rcv. l 1/16) Judgment in a Criminal Case
Sheet 3D _ Supervised Release

Judgment_Page _6_ of ___8______

DEFENDANTI CALVIN CROW EAGLE
CASE NUMBER: l:16-cr-189-02

SPECIAL CONDITIONS OF SUPERVISION

1. You must totally abstain from the use of alcohol and illegal drugs or the possession of a controlled substance, as defined in 21
U.S.C. § 802 or state statute, unless prescribed by a licensed medical practitioner; and any use of inhalants or psychoactive
substances (e.g., synthetic marijuana, bath salts, etc.) that impair your physical or mental functioning.

2. You must submit to drug/alcohol screening at the direction of the United States Probation Oft“icer to verify compliance.
Failure or refusal to submit to testing can result in mandatory revocation, Tampering with the collection process or specimen
may be considered the same as a positive test result.

3. You must participate in a drug/alcohol dependency treatment program as approved by the supervising probation officer.
4. You must not enter establishments whose primary business is the sale of alcoholic beverages.

5. You must participate in a program aimed at addressing specific interpersonal or social areas, for example, domestic violence,
anger management, relationship counseling, financial counseling, cognitive skills, parenting, at the direction of your
supervising probation officer.

6. As directed by the Court, if during the period of supervised release the supervising probation officer determines you are in
need of placement in a Residential Re-Entry Center (RRC), you must voluntarily report to such a facility as directed by the
supervising probation officer, cooperate with all rules and regulations of the facility, participate in all recommended
programming, and not withdraw from the facility without prior permission of the supervising probation officer. The Court
retains and exercises ultimate responsibility in this delegation of authority to the probation officer.

7. You must submit your person, residence, workplace, vehicle, computer (including password), and/or possessions to a search
conducted by a United States Probation Officer based upon reasonable suspicion of a violation of a condition of supervision.
Failure to submit to a search may be grounds for revocation, additional criminal charges, and arrest. You must notify any
other residents that the premises may be subject to searches pursuant to this condition.

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Local AO 24513 (Rev. ll/ 16) Judgment in a Criminal Case
Sheet 5 _ Criminal Monetary Penalties

Judgment _ Page 7 of 8
DEFENDANTZ CALVIN CROW EAGLE
CASE NUMBER; 1216-61'-189-02

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 300.00 $ $ $ 72,305.14
|:] The determination of restitution is deferred until . An Ameiided Judgment in a Criminal Case (AO 2450 will be entered

after such determination
n The defendant must make restitution (including connnunity restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately ro ortioned ayment, unless specified otherwise i_n
the priority or_der or percentage payment column elow. However, pursuant to 18 .S. . § 3664(£1) , all nonfederal victims must be paid
before the United States is paid.

Name of Payce Total Loss** Restitution Ordered Priorig or Percentage
ND Dept. of Human Services $72,305.14

Medical Services Division
600 East Boulevard Avenue

Bismarck, ND 58505

TOTALS $ 0.00 $ 72,305.14

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[:| the interest requirement is waived for the [:| fine l:| restitution.

|:I the interest requirement for the |:] fine 13 restitution is modified as follows:

* Jus_tice for Victims ofTraffickin Act of`2015, Pub. L. No. l 14-22.
** Findings for the total amount 0 losses _are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before Apr1123, 1996.

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Local AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 6 _ Schedule of Payments

.Iudgment - Page 8 of 8
DEFENDANT! CALVIN CROW EAGLE
CASE NUMBERZ l:lG-cr~189-02

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A m Lump sum payment of $ 72’605'14 due immediately, balance due

[| not later than ,or
Q] in accordance with |:] C, [:] D, |:| E, or M Fbelow; or

B l:| Payment to begin immediately (may be combined with l:l C, l:| D, or I:l F below); or

C l:l Payment in equal (e.g., weekly, manthly, quarterly) installments of $ over a period of
(e.g., months oryears), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E [:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F m Special instructions regarding the payment of criminal monetary penalties:

All criminal monetary payments are to be made to the Clerk's Off`ice, U.S. District Court, P.O. Box 1193, Bismarck,
North Dakota, 58502-1193.

While on supervised release, the Defendant shall cooperate with the Probation Officer in developing a monthly
payment plan consistent with a schedule of allowable expenses provided by the Probation Office.

Unless _the court has expressly ordered otherwise, if this judgment imposes imprisonment, pajyment of criminal monetary penalties is due during
th_e period of imprisonment, All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

13 Joint and Several

Defendant and Co-Defendant Names_ and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

Calvin Crow Eagle 1216-cr-189-02 and Shayla Left Hand 1:16-cr-189-01, $72,305.14 Joint and Several.

l:| The defendant shall pay the cost of prosecution
l] The defendant shall pay the following court cost(s):

l:| The defendant shall forfeit tlie defendant’s interest in the following property to the United States:

_Payments shall be applied in the follow}i\i]grorder: (1) assessment, (2) restitution principal, (3) restitution interestz (4) fine principal, (5) fine
interest, (6) community restitution, (7) A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

